v.

11-DKW-KJM Document1-13 Filed 01/01/03 Page 1 of 3

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eit Vitel ase le FLED IN THE
me , UNITED STUES DISHTEYG r
Melvin Cass DISTRICT OF HANAN

‘Ot everly Drive Penthouse Suite IN 8 ABR

a Ca at Labor ed os

O° Facsimile (810) 599-1854 _ MARTA YFG
~ Atturneys for Certain Olreci Action .

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF HAWAII

IN-ES MDE Ne a0
ESTATE OF FERDINAND E. MARCOS
HUMAN RIGHTS LITIGATION . FINAL JUD@MENTS

_ Flugilen M. Onligas, et al. —

¥, Case No. CV 9I-670-R

Estate of Ferdinand E. Marcos
Vincents Clements, et al.

” Case No. CV 90-571-8
Estate of Ferdinand E, Marcos -

_ This action came on for tial before the Court and a jury, the Honorable Manuel

__& Real, presiding, and the issues having been tried, and the jury having rendered its
"verdict on lability and demages.

The Gourt enters final jucigment pursuant ta FROP §@ in favor of these sixteen
action plaintitis in accordance with the unanimous verdicts of the jury on September
. 1992, February 23, 1994 and January 20, 1999 and the Court's Judgment on
Uahility as follows: . Ao

Case 1:0

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Page 2 of 3

a ee

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ig. me for compensatory damages is entered for the below named
“ied action plaintiffs as follows:

_ ALFONSO KING $96,000.00
GEOAGE GADDI $350,000.00
RAVION MAPALLA _ $80,00.00
RAMON GASTANEDA — $175,000.00
- EMANUEL UMALS $325,000.00
- CRISPIN ARANDA $425,000.00
FLUELLEN M, ORTIGAS - $425,000.00

RAMON JALIPA $100,000.00
MARCELING DELEON $75,000.00
JOGE E. ASUNGION $250,000.00
REX. T. BROWN $75,000.00

“SUSAN ABANETA $75,000.00 .

| _ ESTHER GARQIA " $191,000.00

a JERROLD GARCIA $200,000.00
ESTATE OF ALEX TORRES | $100,000.00
VICENTE CLEMENTE - $150,000.00

a dusigenent for exemplary damages, 16 make an example for the pu

_ goad, Is entered in the aggregete of $1.2 bilion to be divided among the memt.

the class and direct action plainiffs pro mata. Each plaintit hain included shal
receive an additional $132,027.72 for an aggregate amount of $2,1 12,443. 52.

4, Pursuant to FRCP &4(d) (2) (6). the Court erders treat direct action

‘plaiting (end their attorneys?) clin or counse! teas and their suinmission in su

page 2

ape eins et ep apenrnee
Case 1:03-cv bd d- DKW-KJM Document1-13 Filed 01/01/03. Page 3 of 3

PagelD.4238 — a ,
gle. 20239 © BELLI LAW OFFICE POS
fhe deferred and postponed untit further order of the Court,

5. Pursuant to FAGP 54(d) (1), direct action plaintiffs are awarded costs

Which must now be submitted ta be taxed by the Clerk, -

6 The permanent injunetion entered. In the class wae, cv ae-0990-R shall

be deemed to apply to these direct acticins, o

7. Any monies collected by settiement or execution gn judgments entered

E oe in any of the MDL 840 cases against the defendant Estate shail be held and
moe. disbursed as directed by the Court , of

DATED: Niles,

MANUEL L. REAL
MOL. 840 Transferee Judge _

. SION ss mo

page

TOTAL P.a@s
